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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

                 Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

              Defendants.
  ______________________________/


                      NOTICE OF DEFENDANT’S MOTION TO STAY
                     PROCEEDINGS IN THE DISTRICT OF COLUMBIA

         Yesterday, the Court conducted a hearing on the defendants’ motion to adjourn trial, in

  which defendant Trump claimed that trial in this matter should be delayed in part because “[t]he

  March 4, 2024 trial date in the District of Columbia, and the underlying schedule in that case,

  currently require President Trump and his lawyers to be in two places at once.”      ECF 167 at 1.

  Defendant Trump’s counsel reiterated that argument during the hearing yesterday.         However,

  defendant Trump’s counsel failed to disclose at the hearing that they were planning to file – and

  yesterday evening did file – the attached motion to stay the proceedings in the District of Columbia

  until their motion to dismiss the indictment based on presidential immunity is “fully resolved.”

  See United States v. Donald J. Trump, No. 23-cr-257-TSC, ECF No. 128 at 1 (D.D.C. Nov. 1,

  2023), attached as Exhibit 1.   As the Government argued to the Court yesterday, the trial date in

  the District of Columbia case should not be a determinative factor in the Court’s decision whether

  to modify the dates in this matter. Defendant Trump’s actions in the hours following the hearing
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  in this case illustrate the point and confirm his overriding interest in delaying both trials at any

  cost.   This Court should allow itself to be manipulated in this fashion.

                                                Respectfully submitted,

                                                JACK SMITH
                                                Special Counsel

                                        By:     /s/ Jay I. Bratt
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 2, 2023, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.

                                               /s/ Jay I.Bratt
                                               Jay I. Bratt
                                               Counselor to the Special Counsel




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